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 1                            UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF CALIFORNIA
 3

 4
     JOHN A. WARD, an individual,

 5
                       Plaintiff,
                                                   No. CV-05-1577-FVS
 6
                 v.
 7
                                                   ORDER OF DISMISSAL

 8
     CITY OF MCFARLAND; CALIFORNIA;
     RAFAEL MELENDEZ, an individual
 9

10
                       Defendants.

11

12        The Court, being fully advised, now therefore,

13        IT IS HEREBY ORDERED that pursuant to the Stipulation filed by

14   the parties, Ct. Rec. 37, and Federal Rule of Civil Procedure

15   41(a)(1), this action is DISMISSED WITH PREJUDICE, each party to bear

16   its own costs and attorney's fees.

17        IT IS SO ORDERED.      The District Court Executive is hereby

18   directed to enter this Order, furnish copies to counsel, and CLOSE

19   THE FILE.

20        DATED this    2nd     day of October, 2006.

21
                                  s/ Fred Van Sickle
22                                   Fred Van Sickle
                              United States District Judge
23

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      ORDER OF DISMISSAL - 1
